Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 1 of 16 Page ID #:3319


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        HBH LICENSING, LLC
   16

   17                        UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
   18                             SOUTHERN DIVISION
   19
        HONEY BAKED HAM INC., a               CASE NO.: 8:19-CV-01528-JVS
   20   California corporation,               (DFMx)
   21         Plaintiff/Counterclaim          STIPULATED PROTECTIVE
              Defendant,                      ORDER
   22
              v.                              Assigned to the Hon. James V. Selna
   23
        HONEY BAKED HAM                       Courtroom 10C
   24   COMPANY LLC, a Delaware
        limited liability company, and HBH    First Amended Complaint filed:
   25   LICENSING, LLC, a Georgia             May 22, 2020
        limited liability company,
   26

   27         Defendants/Counterclaim
   28         Plaintiffs.
Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 2 of 16 Page ID #:3320




   1   1.      PURPOSES AND LIMITATIONS
   2           Disclosure and discovery activity in this action are likely to involve production
   3   of confidential, proprietary, or private information for which special protection from
   4   public disclosure and from use for any purpose other than prosecuting this litigation
   5   may be warranted. Accordingly, the parties hereby stipulate to and petition the court to
   6   enter the following Stipulated Protective Order. The parties acknowledge that this Order
   7   does not confer blanket protections on all disclosures or responses to discovery and that
   8   the protection it affords from public disclosure and use extends only to the limited
   9   information or items that are entitled to confidential treatment under the applicable legal
  10   principles. The parties further acknowledge, as set forth in Section 12.3, below, that this
  11   Stipulated Protective Order does not entitle them to file confidential information under
  12   seal; Local Rule 79-5 sets forth the procedures that must be followed and the standards
  13   that will be applied when a party seeks permission from the court to file material under
  14   seal.
  15   2.      DEFINITIONS
  16           2.1   Challenging Party: a Party or Non-Party that challenges the designation
  17   of information or items under this Order.
  18           2.2   “CONFIDENTIAL” Information or Items: information (regardless of how
  19   it is generated, stored or maintained) or tangible things that qualify for protection under
  20   Federal Rule of Civil Procedure 26(c) as well as (a) trade secrets as defined under
  21   California Civil Code section 3426.1 (d); (b) the non-public, personal information of
  22   individuals, including but not limited to information that identifies the personal or
  23   financial information for a given individual, including address, account number,
  24   telephone number, email address, or other personal or financial information; (c) the
  25   confidential financial information and records of any business entity; (d) information
  26   protected from disclosure by contractual obligations with third-parties; and (e)
  27   information protected from disclosure by law.
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       CASE NO. 8:19-CV-01528-JVS (DFMX)
Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 3 of 16 Page ID #:3321




   1         2.3    Counsel (without qualifier):       Outside Counsel of Record and House
   2   Counsel (as well as their support staff).
   3         2.4    Designating Party: a Party or Non-Party that designates information or
   4   items that it produces in disclosures or in responses to discovery as
   5   “CONFIDENTIAL.”
   6         2.5    Disclosure or Discovery Material: all items or information, regardless of
   7   the medium or manner in which it is generated, stored, or maintained (including, among
   8   other things, testimony, transcripts, and tangible things), that are produced or generated
   9   in disclosures or responses to discovery in this matter.
  10         2.6    Expert: a person with specialized knowledge or experience in a matter
  11   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
  12   expert witness or as a consultant in this action.
  13         2.7    House Counsel: attorneys who are employees of a party to this action.
  14   House Counsel does not include Outside Counsel of Record or any other outside
  15   counsel.
  16         2.8    Non-Party: any natural person, partnership, corporation, association, or
  17   other legal entity not named as a Party to this action.
  18         2.9    Outside Counsel of Record: attorneys who are not employees of a party to
  19   this action but are retained to represent or advise a party to this action and have appeared
  20   in this action on behalf of that party or are affiliated with a law firm which has appeared
  21   on behalf of that party.
  22         2.10 Party: any party to this action, including all of its officers, directors,
  23   employees, consultants, retained experts, and Outside Counsel of Record (and their
  24   support staffs).
  25         2.11 Producing Party:        a Party or Non-Party that produces Disclosure or
  26   Discovery Material in this action.
  27         2.12 Professional Vendors: persons or entities that provide litigation support
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 4 of 16 Page ID #:3322




   1   services (e.g., photocopying, videotaping, translating, preparing exhibits or
   2   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
   3   their employees and subcontractors.
   4         2.13 Protected Material:        any Disclosure or Discovery Material that is
   5   designated as “CONFIDENTIAL.”
   6         2.14 Receiving Party: a Party that receives Disclosure or Discovery Material
   7   from a Producing Party.
   8   3.    SCOPE
   9         The protections conferred by this Stipulation and Order cover not only Protected
  10   Material (as defined above), but also (1) any information copied or extracted from
  11   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
  12   Material; and (3) any testimony, conversations, or presentations by Parties or their
  13   Counsel that might reveal Protected Material. However, the protections conferred by
  14   this Stipulation and Order do not cover the following information: (a) any information
  15   that is in the public domain at the time of disclosure to a Receiving Party or becomes
  16   part of the public domain after its disclosure to a Receiving Party as a result of
  17   publication not involving a violation of this Order, including becoming part of the
  18   public record through trial or otherwise; and (b) any information known to the
  19   Receiving Party prior to the disclosure or obtained by the Receiving Party after the
  20   disclosure from a source who obtained the information lawfully and under no obligation
  21   of confidentiality to the Designating Party. Any use of Protected Material at trial shall
  22   be governed by a separate agreement or order.
  23   4.    DURATION
  24         Even after final disposition of this litigation, the confidentiality obligations
  25   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
  26   in writing or a court order otherwise directs. Final disposition shall be deemed to be the
  27   later of (1) dismissal of all claims and defenses in this action, with or without prejudice;
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 5 of 16 Page ID #:3323




   1   and (2) final judgment herein after the completion and exhaustion of all appeals,
   2   rehearings, remands, trials, or reviews of this action, including the time limits for filing
   3   any motions or applications for extension of time pursuant to applicable law.
   4   5.    DESIGNATING PROTECTED MATERIAL
   5         5.1      Exercise of Restraint and Care in Designating Material for Protection.
   6   Each Party or Non-Party that designates information or items for protection under this
   7   Order must take care to limit any such designation to specific material that qualifies
   8   under the appropriate standards. The Designating Party must designate for protection
   9   only those parts of material, documents, items, or oral or written communications that
  10   qualify – so that other portions of the material, documents, items, or communications
  11   for which protection is not warranted are not swept unjustifiably within the ambit of
  12   this Order.
  13         Mass, indiscriminate, or routinized designations are prohibited. Designations that
  14   are shown to be clearly unjustified or that have been made for an improper purpose
  15   (e.g., to unnecessarily encumber or retard the case development process or to impose
  16   unnecessary expenses and burdens on other parties) expose the Designating Party to
  17   sanctions.
  18         If it comes to a Designating Party’s attention that information or items that it
  19   designated for protection do not qualify for protection, that Designating Party must
  20   promptly notify all other Parties that it is withdrawing the mistaken designation.
  21         5.2      Manner and Timing of Designations. Except as otherwise provided in this
  22   Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated
  23   or ordered, Disclosure or Discovery Material that qualifies for protection under this
  24   Order must be clearly so designated before the material is disclosed or produced.
  25         Designation in conformity with this Order requires:
  26               (a) for information in documentary form (e.g., paper or electronic documents,
  27   but excluding transcripts of depositions or other pretrial or trial proceedings), that the
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 6 of 16 Page ID #:3324




   1   Producing Party affix the legend “CONFIDENTIAL” to each page that contains
   2   protected material.
   3         A Party or Non-Party that makes original documents or materials available for
   4   inspection need not designate them for protection until after the inspecting Party has
   5   indicated which material it would like copied and produced. During the inspection and
   6   before the designation, all of the material made available for inspection shall be deemed
   7   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
   8   copied and produced, the Producing Party must determine which documents, or portions
   9   thereof, qualify for protection under this Order. Then, before producing the specified
  10   documents, the Producing Party must affix the “CONFIDENTIAL” legend to each page
  11   that contains Protected Material.
  12            (b) for testimony given or documents disclosed or marked as exhibits in
  13   deposition, an entire deposition or any document marked as an exhibit may be
  14   provisionally designated as confidential by a Designating Party so indicating on the
  15   record. If any testimony or exhibits are provisionally designated for protection during a
  16   deposition, the court reporter shall include on the cover page the following indication:
  17   “DEPOSITION CONTAINS CONFIDENTIAL INFORMATION — SUBJECT
  18   TO A PROTECTIVE ORDER.” Within twenty (20) days of receipt of the initial
  19   deposition transcript, the Designating Party shall advise the court reporter and opposing
  20   counsel of the specific pages and lines which it designates as “Confidential.” The court
  21   reporter shall supplement the transcript to mark the specific pages and lines designated
  22   and amend the cover page to reflect that these specific designations have been made.
  23   Counsel for the opposing party may have immediate access to the deposition transcript
  24   but, prior to the page and line designations, shall treat the entire transcript as
  25   Confidential, if so designated at the deposition. In the event that the Designating Party
  26   fails to advise the court reporter and opposing counsel of the specific pages and lines
  27   which it seeks to designate as “Confidential” within thirty (20) days of receipt of the
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 7 of 16 Page ID #:3325




   1   initial deposition transcript, then no portions of the deposition transcript shall be treated
   2   as Confidential.
   3             (c) for testimony given in pretrial or trial proceedings, that the Designating
   4   Party identify on the record, before the close of the hearing or other proceeding, all
   5   protected testimony.
   6               (d) for information produced in some form other than documentary and for
   7   any other tangible items, that the Producing Party affix in a prominent place on the
   8   exterior of the container or containers in which the information or item is stored the
   9   legend “CONFIDENTIAL.” If only a portion or portions of the information or item
  10   warrant protection, the Producing Party, to the extent practicable, shall identify the
  11   protected portion(s).
  12         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
  13   failure to designate qualified information or items does not, standing alone, waive the
  14   Designating Party’s right to secure protection under this Order for such material. Upon
  15   timely correction of a designation, the Receiving Party must make reasonable efforts to
  16   assure that the material is treated in accordance with the provisions of this Order.
  17   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  18         6.1     Timing of Challenges.        Any Party or Non-Party may challenge a
  19   designation of confidentiality at any time. Unless a prompt challenge to a Designating
  20   Party’s confidentiality designation is necessary to avoid foreseeable, substantial
  21   unfairness, unnecessary economic burdens, or a significant disruption or delay of the
  22   litigation, a Party does not waive its right to challenge a confidentiality designation by
  23   electing not to mount a challenge promptly after the original designation is disclosed.
  24         6.2     Meet and Confer.       The Challenging Party shall initiate the dispute
  25   resolution process by providing written notice of each designation it is challenging and
  26   describing the basis for each challenge. To avoid ambiguity as to whether a challenge
  27   has been made, the written notice must recite that the challenge to confidentiality is
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 8 of 16 Page ID #:3326




   1   being made in accordance with this specific paragraph of the Protective Order. The
   2   parties shall attempt to resolve each challenge in good faith and must begin the process
   3   by conferring directly (in voice to voice dialogue; other forms of communication are
   4   not sufficient) within 14 days of the date of service of notice. In conferring, the
   5   Challenging Party must explain the basis for its belief that the confidentiality
   6   designation was not proper and must give the Designating Party an opportunity to
   7   review the designated material, to reconsider the circumstances, and, if no change in
   8   designation is offered, to explain the basis for the chosen designation. A Challenging
   9   Party may proceed to the next stage of the challenge process only if it has engaged in
  10   this meet and confer process first or establishes that the Designating Party is unwilling
  11   to participate in the meet and confer process in a timely manner.
  12         6.3    Judicial Intervention. If the Parties cannot resolve a challenge without
  13   court intervention, the Designating Party shall file and serve a motion to retain
  14   confidentiality under Local Rule 7 (and in compliance with Local Rule 79-5, if
  15   applicable) within 21 days of the initial notice of challenge or within 14 days of the
  16   parties agreeing that the meet and confer process will not resolve their dispute,
  17   whichever is earlier. Each such motion must be accompanied by a competent
  18   declaration affirming that the movant has complied with the meet and confer
  19   requirements imposed in the preceding paragraph. Failure by the Designating Party to
  20   make such a motion including the required declaration within 21 days (or 14 days, if
  21   applicable) shall automatically waive the confidentiality designation for each
  22   challenged designation. In addition, the Challenging Party may file a motion
  23   challenging a confidentiality designation at any time if there is good cause for doing so,
  24   including a challenge to the designation of a deposition transcript or any portions
  25   thereof. Any motion brought pursuant to this provision must be accompanied by a
  26   competent declaration affirming that the movant has complied with the meet and confer
  27   requirements imposed by the preceding paragraph.
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 9 of 16 Page ID #:3327




   1         The burden of persuasion in any such challenge proceeding shall be on the
   2   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
   3   to harass or impose unnecessary expenses and burdens on other parties) may expose the
   4   Challenging Party to sanctions. Unless the Designating Party has waived the
   5   confidentiality designation by failing to file a motion to retain confidentiality as
   6   described above, all parties shall continue to afford the material in question the level of
   7   protection to which it is entitled under the Producing Party’s designation until the court
   8   rules on the challenge.
   9   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  10         7.1      Basic Principles. A Receiving Party may use Protected Material that is
  11   disclosed or produced by another Party or by a Non-Party in connection with this case
  12   only for prosecuting, defending, or attempting to settle this litigation. Specifically, no
  13   Receiving Party may use Protected Material for business purposes unrelated to this case.
  14   Such Protected Material may be disclosed only to the categories of persons and under
  15   the conditions described in this Order. When the litigation has been terminated, a
  16   Receiving Party must comply with the provisions of section 13 below (FINAL
  17   DISPOSITION).
  18         Protected Material must be stored and maintained by a Receiving Party at a
  19   location and in a secure manner that ensures that access is limited to the persons
  20   authorized under this Order.
  21         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
  22   ordered by the court or permitted in writing by the Designating Party, a Receiving Party
  23   may disclose any information or item designated “CONFIDENTIAL” only to:
  24               (a) the Receiving Party’s Outside Counsel of Record in this action, as well as
  25   employees of said Outside Counsel of Record to whom it is reasonably necessary to
  26   disclose the information for this litigation;
  27               (b) the officers, directors, and employees (including House Counsel) of the
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 10 of 16 Page ID
                                 #:3328



 1   Receiving Party to whom disclosure is reasonably necessary for this litigation;
 2            (c) Experts (as defined in this Order) of the Receiving Party to whom
 3   disclosure is reasonably necessary for this litigation and who have signed the
 4   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 5            (d) the court and its personnel;
 6            (e) court reporters and their staff;
 7            (f) professional jury or trial consultants, mock jurors, and Professional
 8   Vendors to whom disclosure is reasonably necessary for this litigation and who have
 9   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
10            (g) during their depositions, witnesses in the action to whom disclosure is
11   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be
12   Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered by
13   the court. Pages of transcribed deposition testimony or exhibits to depositions that
14   reveal Protected Material may not be disclosed to anyone except as permitted under this
15   Stipulated Protective Order.
16            (g) the author or recipient of a document containing the information or a
17   custodian or other person who otherwise possessed or knew the information.
18         A Receiving Party that discloses “CONFIDENTIAL” information to a person
19   required to sign the “Acknowledgement and Agreement to Be Bound” (Exhibit A)
20   shall be responsible for ensuring that such signature is obtained and shall maintain a
21   signed copy of the “Acknowledgement and Agreement to Be Bound” in its records
22   for production if required by the Court.
23   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
24         OTHER LITIGATION
25         If a Party is served with a subpoena or a court order issued in other litigation that
26   compels disclosure of any information or items designated in this action as
27   “CONFIDENTIAL,” that Party must:
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 11 of 16 Page ID
                                 #:3329



 1            (a) promptly notify in writing the Designating Party. Such notification shall
 2   include a copy of the subpoena or court order;
 3            (b) promptly notify in writing the party who caused the subpoena or order to
 4   issue in the other litigation that some or all of the material covered by the subpoena or
 5   order is subject to this Protective Order. Such notification shall include a copy of this
 6   Stipulated Protective Order; and
 7            (c) cooperate with respect to all reasonable procedures sought to be pursued
 8   by the Designating Party whose Protected Material may be affected.
 9         If the Designating Party timely seeks a protective order, the Party served with the
10   subpoena or court order shall not produce any information designated in this action as
11   “CONFIDENTIAL” before a determination by the court from which the subpoena or
12   order issued, unless the Party has obtained the Designating Party’s permission. The
13   Designating Party shall bear the burden and expense of seeking protection in that court
14   of its confidential material – and nothing in these provisions should be construed as
15   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive
16   from another court.
17   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
18         IN THIS LITIGATION
19            (a) The terms of this Order are applicable to information produced by a Non-
20   Party in this action and designated as “CONFIDENTIAL.” Such information produced
21   by Non-Parties in connection with this litigation is protected by the remedies and relief
22   provided by this Order. Nothing in these provisions should be construed as prohibiting
23   a Non-Party from seeking additional protections.
24            (b) In the event that a Party is required, by a valid discovery request, to
25   produce a Non-Party’s confidential information in its possession, and the Party is
26   subject to an agreement with the Non-Party not to produce the Non-Party’s confidential
27   information, then the Party shall:
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 12 of 16 Page ID
                                 #:3330



 1                  (1) promptly notify in writing the Requesting Party and the Non-Party that
 2   some or all of the information requested is subject to a confidentiality agreement with
 3   a Non-Party;
 4                  (2)   promptly provide the Non-Party with a copy of the Stipulated
 5   Protective Order in this litigation, the relevant discovery request(s), and a reasonably
 6   specific description of the information requested; and
 7                  (3) make the information requested available for inspection by the Non-
 8   Party.
 9               (c) If the Non-Party fails to object or seek a protective order from this court
10   within 14 days of receiving the notice and accompanying information, the Receiving
11   Party may produce the Non-Party’s confidential information responsive to the discovery
12   request. If the Non-Party timely seeks a protective order, the Receiving Party shall not
13   produce any information in its possession or control that is subject to the confidentiality
14   agreement with the Non-Party before a determination by the court. Absent a court order
15   to the contrary, the Non-Party shall bear the burden and expense of seeking protection
16   in this court of its Protected Material.
17   10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
18            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed or
19   used Protected Material to any person or in any circumstance not authorized under this
20   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
21   the Designating Party of the unauthorized disclosures or use, (b) use its best efforts to
22   retrieve all unauthorized copies of the Protected Material, (c) inform the person or
23   persons to whom unauthorized disclosures were made of all the terms of this Order, and
24   (d) request such person or persons to execute the “Acknowledgment and Agreement to
25   Be Bound” that is attached hereto as Exhibit A.
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 13 of 16 Page ID
                                 #:3331



 1   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 2         PROTECTED MATERIAL
 3         When a Producing Party gives notice to Receiving Parties that certain
 4   inadvertently produced material is subject to a claim of privilege or other protection,
 5   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 6   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 7   may be established in an e-discovery order that provides for production without prior
 8   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 9   parties reach an agreement on the effect of disclosure of a communication or
10   information covered by the attorney-client privilege or work product protection, the
11   parties may incorporate their agreement in the stipulated protective order submitted to
12   the court.
13   12.   MISCELLANEOUS
14         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
15   person to seek its modification by the court in the future.
16         12.2 Right to Assert Other Objections. By stipulating to the entry of this
17   Protective Order, no Party waives any right it otherwise would have to object to
18   disclosing or producing any information or item on any ground not addressed in this
19   Stipulated Protective Order. Similarly, no Party waives any right to object on any
20   ground to use in evidence of any of the material covered by this Protective Order.
21         12.3 Filing Protected Material. Without written permission from the
22   Designating Party or a court order secured after appropriate notice to all interested
23   persons, a Party may not file in the public record in this action any Protected Material.
24   A Party that seeks to file under seal any Protected Material must comply with Local
25   Rule 79-5. Protected Material may only be filed under seal pursuant to a court order
26   authorizing the sealing of the specific Protected Material at issue. Pursuant to Local
27   Rule 79-5, a sealing order will issue only upon a request establishing that the Protected
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 14 of 16 Page ID
                                 #:3332



 1   Material at issue is privileged, protectable as a trade secret, or otherwise entitled to
 2   protection under the law. If a Receiving Party's request to file Protected Material under
 3   seal pursuant to Local Rule 79-5(d) is denied by the court, then the Receiving Party may
 4   file the information in the public record pursuant to Local Rule 79-5(e) unless otherwise
 5   instructed by the court.
 6   13.   FINAL DISPOSITION
 7         Within 60 days after the final disposition of this action, as defined in paragraph
 8   4, each Receiving Party must return all Protected Material to the Producing Party or
 9   destroy such material. As used in this subdivision, “all Protected Material” includes all
10   copies, abstracts, compilations, summaries, and any other format reproducing or
11   capturing any of the Protected Material. Whether the Protected Material is returned or
12   destroyed, the Receiving Party must submit a written certification to the Producing
13   Party (and, if not the same person or entity, to the Designating Party) by the 60 day
14   deadline that (1) identifies (by category, where appropriate) all the Protected Material
15   that was returned or destroyed and (2) affirms that the Receiving Party has not retained
16   any copies, abstracts, compilations, summaries or any other format reproducing or
17   capturing any of the Protected Material. Notwithstanding this provision, Counsel are
18   entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and
19   hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits,
20   expert reports, attorney work product, and consultant and expert work product, even if
21   such materials contain Protected Material. Any such archival copies that contain or
22   constitute Protected Material remain subject to this Protective Order as set forth in
23   Section 4 (DURATION).
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26   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 15 of 16 Page ID
                                 #:3333
Case 8:19-cv-01528-JVS-DFM Document 147 Filed 10/30/20 Page 16 of 16 Page ID
                                 #:3334



 1                                          EXHIBIT A
 2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3         I,   _____________________________            [print   or   type   full   name],   of
 4   _________________ [print or type full address], declare under penalty of perjury that I
 5   have read in its entirety and understand the Stipulated Protective Order that was issued
 6   by the United States District Court for the Central District of California on [date] in the
 7   case of ___________ [insert formal name of the case and the number and initials
 8   assigned to it by the court]. I agree to comply with and to be bound by all the terms of
 9   this Stipulated Protective Order and I understand and acknowledge that failure to so
10   comply could expose me to sanctions and punishment in the nature of contempt. I
11   solemnly promise that I will not disclose in any manner any information or item that is
12   subject to this Stipulated Protective Order to any person or entity except in strict
13   compliance with the provisions of this Order.
14         I further agree to submit to the jurisdiction of the United States District Court for
15   the Central District of California for the purpose of enforcing the terms of this Stipulated
16   Protective Order, even if such enforcement proceedings occur after termination of this
17   action.
18         I hereby appoint __________________________ [print or type full name] of
19   _______________________________________ [print or type full address and
20   telephone number] as my California agent for service of process in connection with this
21   action or any proceedings related to enforcement of this Stipulated Protective Order.
22   Date: ______________________________________
23   City and State where sworn and signed: _________________________________
24

25   Printed name: _______________________________
26

27   Signature: __________________________________
28
                                                16
